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				REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTERS2017 OK 38Decided: 05/09/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 38, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.

RE: Reinstatement of Certificate of Certified Shorthand Reporters
CORRECTED
O R D E R
The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Court Reporters named below be reinstated as these reporters have complied with the continuing education requirements for calendar year 2016 and/or with the annual certificate renewal requirements for 2017, and have paid all applicable penalty fees. 
IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificate of the following court reporter is reinstated from the suspension earlier imposed by this Court:


Name &amp; CSR #

Effective Date of Reinstatement


Teresa St. Clair, CSR # 1267

March 27, 2017


Michelle Watson, CSR # 1771

April 14, 2017




DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 8TH day of May, 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR




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